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8                             UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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11    MARISSA LOFTIS, et al.,                             Case No.: 16-cv-02300-MMA (RNB)
12                                      Plaintiffs,
                                                          ORDER GRANTING EX PARTE
13    v.                                                  JOINT MOTION FOR A
                                                          PROTECTIVE ORDER
14
15    DENISE RAMOS, et al.,                               (ECF No. 48)
16                                   Defendants.
17
18
19           Presently before the Court is an Ex Parte Joint Motion for a Protective Order. (ECF
20    No. 48.) Good cause appearing, the motion is hereby GRANTED. Accordingly, the Court
21    enters the following Protective Order:
22                                    PROTECTIVE ORDER
23           The parties have agreed to be bound by the terms of this Protective Order (“Order”)
24    in this action.
25           THEREFORE:
26                                         DEFINITIONS
27           1.     The term “confidential information” will mean and include information
28    contained or disclosed in any materials, including documents, portions of documents,

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1     answers to interrogatories, responses to requests for admissions, trial testimony, deposition
2     testimony, and transcripts of trial testimony and depositions, including data, summaries,
3     and compilations derived therefrom that is deemed to be confidential information by any
4     party to which it belongs. The materials to be exchanged throughout the course of the
5     litigation between the parties may contain confidential information, reports, memorandum,
6     recordings, or information protected by privacy or official information privileges as
7     contemplated by Federal Rule of Civil Procedure 26(c)(1)(G).
8           2.     The term “materials” will include, but are not be limited to: documents;
9     correspondence; memoranda.
10          3.     The term “counsel” will mean counsel of record, and other attorneys,
11    paralegals, secretaries, and other support staff employed by counsel of record.
12                                       GENERAL RULES
13          4.     Each party to this litigation that produces or discloses any materials, answers
14    to interrogatories, responses to requests for admission, trial testimony, deposition
15    testimony, and transcripts of trial testimony and depositions, or information that the
16    producing party believes should be subject to this Protective Order may designate the same
17    as “CONFIDENTIAL” or “CONFIDENTIAL - FOR COUNSEL ONLY.”
18                 a.    Designation as “CONFIDENTIAL”: Any party may designate
19    information as “CONFIDENTIAL” only if, in the good faith belief of such party and its
20    counsel, the unrestricted disclosure of such information could be potentially prejudicial to
21    the safety and security of such party, its staff, employees, correctional institutions, the
22    California Department of Corrections and Rehabilitations, or inmates therein.
23                 b.    Designation as “CONFIDENTIAL - FOR COUNSEL ONLY”: Any
24    party may designate information as “CONFIDENTIAL - FOR COUNSEL ONLY” only if,
25    in the good faith belief of such party and its counsel, the information is among that
26    considered to be most sensitive by the party, including but not limited to confidential
27    information the disclosure of which poses a threat to the safety and security of any party,
28    the California Department of Corrections and Rehabilitations, it’s staff, employees,

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1     correctional institutions, or inmates therein.
2           5.     In the event the producing party elects to produce materials for inspection, no
3     marking need be made by the producing party in advance of the initial inspection. For
4     purposes of the initial inspection, all materials produced will be considered as
5     “CONFIDENTIAL - FOR COUNSEL ONLY,” and must be treated as such pursuant to
6     the terms of this Order. Thereafter, upon selection of specified materials for copying by
7     the inspecting party, the producing party must, within a reasonable time prior to producing
8     those materials to the inspecting party, mark the copies of those materials that contain
9     confidential information with the appropriate confidentiality marking.
10          6.     Whenever a deposition taken on behalf of any party involves a disclosure of
11    confidential information of any party:
12                 a.     the deposition or portions of the deposition must be designated as
13    containing confidential information subject to the provisions of this Order; such
14    designation must be made on the record whenever possible, but a party may designate
15    portions of depositions as containing confidential information after transcription of the
16    proceedings; [A] party will have until fourteen (14) days after receipt of the deposition
17    transcript to inform the other party or parties to the action of the portions of the transcript
18    to be designated “CONFIDENTIAL” or “CONFIDENTIAL - FOR COUNSEL ONLY.”
19                 b.     the disclosing party will have the right to exclude from attendance at
20    the deposition, during such time as the confidential information is to be disclosed, any
21    person other than the deponent, counsel (including their staff and associates), the court
22    reporter, and the person(s) agreed upon pursuant to paragraph 8 below; and
23                 c.     the originals of the deposition transcripts and all copies of the
24    deposition must bear the legend “CONFIDENTIAL” or “CONFIDENTIAL - FOR
25    COUNSEL ONLY,” as appropriate, and the original or any copy ultimately presented to a
26    court for filing must not be filed unless it can be accomplished under seal, identified as
27    being subject to this Order, and protected from being opened except by order of this Court.
28          7.     All confidential information designated as “CONFIDENTIAL” or

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1     “CONFIDENTIAL FOR COUNSEL ONLY” must not be disclosed by the receiving party
2     to anyone other than those persons designated within this order and must be handled in the
3     manner set forth below and, in any event, must not be used for any purpose other than in
4     connection with this litigation, unless and until such designation is removed either by
5     agreement of the parties, or by order of the Court.
6           8.     Information designated “CONFIDENTIAL - FOR COUNSEL ONLY” must
7     be viewed only by counsel (as defined in paragraph 3) of the receiving party, and by
8     independent experts under the conditions set forth in this paragraph. The right of any
9     independent expert to receive any confidential information will be subject to the advance
10    approval of such expert by the producing party or by permission of the Court. The party
11    seeking approval of an independent expert must provide the producing party with the name
12    and curriculum vitae of the proposed independent expert, and an executed copy of the form
13    attached hereto as Exhibit A, in advance of providing any confidential information of the
14    producing party to the expert. Any objection by the producing party to an independent
15    expert receiving confidential information must be made in writing within fourteen (14)
16    days following receipt of the identification of the proposed expert.               Confidential
17    information may be disclosed to an independent expert if the fourteen (14) day period has
18    passed and no objection has been made. The approval of independent experts must not be
19    unreasonably withheld.
20          9.     Information designated “CONFIDENTIAL” must be viewed only by counsel
21    (as defined in paragraph 3) of the receiving party, by independent experts (pursuant to the
22    terms of paragraph 8), by court personnel, and by the additional individuals listed below,
23    provided each such individual has read this Order in advance of disclosure and has agreed
24    in writing to be bound by its terms:
25                 a.     Executives who are required to participate in policy decisions with
26    reference to this action;
27                 b.     Technical personnel of the parties with whom Counsel for the parties
28    find it necessary to consult, in the discretion of such counsel, in preparation for trial of this

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1     action; and
2                   c.     Stenographic and clerical employees associated with the individuals
3     identified above.
4           10.     With     respect    to    material     designated    “CONFIDENTIAL”            or
5     “CONFIDENTIAL – FOR COUNSEL ONLY,” any person indicated on the face of the
6     document to be its originator, author or a recipient of a copy of the document, may be
7     shown the same.
8           11.     All information which has been designated as “CONFIDENTIAL” or
9     “CONFIDENTIAL -FOR COUNSEL ONLY” by the producing or disclosing party, and
10    any and all reproductions of that information, must be retained in the custody of the counsel
11    for the receiving party identified in paragraph 3, except that independent experts authorized
12    to view such information under the terms of this Order may retain custody of copies such
13    as are necessary for their participation in this litigation.
14          12.     No document shall be filed under seal unless counsel secures a court order
15    allowing the filing of a document under seal. An application to file a document under seal
16    shall be served on opposing counsel, and on the person or entity that has custody and
17    control of the document, if different from opposing counsel. If opposing counsel, or the
18    person or entity who has custody and control of the document, wishes to oppose the
19    application, he/she must contact the chambers of the judge who will rule on the application,
20    to notify the judge’s staff that an opposition to the application will be filed.
21          Before any materials produced in discovery, answers to interrogatories, responses to
22    requests for admissions, deposition transcripts, or other documents which are designated
23    as confidential information are filed with the Court for any purpose, the party seeking to
24    file such material must seek permission of the Court to file the material under seal.
25          13.     At any stage of these proceedings, any party may object to a designation of
26    the materials as confidential information. The party objecting to confidentiality must
27    notify, in writing, counsel for the designating party of the objected-to materials and the
28    grounds for the objection. If the dispute is not resolved consensually between the parties

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1     within seven (7) days of receipt of such a notice of objections, the objecting party may
2     move the Court for a ruling on the objection. The materials at issue must be treated as
3     confidential information, as designated by the designating party, until the Court has ruled
4     on the objection or the matter has been otherwise resolved.
5           14.        All confidential information must be held in confidence by those inspecting
6     or receiving it, and must be used only for purposes of this action. Counsel for each party,
7     and each person receiving confidential information must take reasonable precautions to
8     prevent the unauthorized or inadvertent disclosure of such information. If confidential
9     information is disclosed to any person other than a person authorized by this Order, the
10    party responsible for the unauthorized disclosure must immediately bring all pertinent facts
11    relating to the unauthorized disclosure to the attention of the other parties and, without
12    prejudice to any rights and remedies of the other parties, make every effort to prevent
13    further disclosure by the party and by the person(s) receiving the unauthorized disclosure.
14          15.        No party will be responsible to another party for disclosure of confidential
15    information under this Order if the information in question is not labeled or otherwise
16    identified as such in accordance with this Order.
17          16.        If a party, through inadvertence, produces any confidential information
18    without labeling or marking or otherwise designating it as such in accordance with this
19    Order, the designating party may give written notice to the receiving party that the
20    document or thing produced is deemed confidential information, and that the document or
21    thing produced should be treated as such in accordance with that designation under this
22    Order. The receiving party must treat the materials as confidential, once the designating
23    party so notifies the receiving party. If the receiving party has disclosed the materials
24    before receiving the designation, the receiving party must notify the designating party in
25    writing of each such disclosure. Counsel for the parties will agree on a mutually acceptable
26    manner      of     labeling   or   marking   the    inadvertently   produced   materials   as
27    “CONFIDENTIAL” or “CONFIDENTIAL - FOR COUNSEL ONLY” - SUBJECT TO
28    PROTECTIVE ORDER.

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1           17.    Nothing within this order will prejudice the right of any party to object to the
2     production of any discovery material on the grounds that the material is protected as
3     privileged or as attorney work product.
4           18.    Nothing in this Order will bar counsel from rendering advice to their clients
5     with respect to this litigation and, in the course thereof, relying upon any information
6     designated as confidential information, provided that the contents of the information must
7     not be disclosed.
8           19.    This Order will be without prejudice to the right of any party to oppose
9     production of any information for lack of relevance or any other ground other than the mere
10    presence of confidential information. The existence of this Order must not be used by
11    either party as a basis for discovery that is otherwise improper under the Federal Rules of
12    Civil Procedure.
13          20.    Nothing within this order will be construed to prevent disclosure of
14    confidential information if such disclosure is required by law or by order of the Court.
15          21.    Upon final termination of this action, including any and all appeals, counsel
16    for each party must, upon request of the producing party, return all confidential information
17    to the party that produced the information, including any copies, excerpts, and summaries
18    of that information, or must destroy same at the option of the receiving party, and must
19    purge all such information from all machine-readable media on which it resides.
20          Notwithstanding the foregoing, counsel for each party may retain all pleadings,
21    briefs, memoranda, motions, and other documents filed with the Court that refer to or
22    incorporate confidential information, and will continue to be bound by this Order with
23    respect to all such retained information. Further, attorney work product materials that
24    contain confidential information need not be destroyed, but, if they are not destroyed, the
25    person in possession of the attorney work product will continue to be bound by this Order
26    with respect to all such retained information.
27          22.    The restrictions and obligations set forth within this order will not apply to
28    any information that:

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1                  a.     the parties agree should not be designated confidential information;
2                  b.     the parties agree, or the Court rules, is already public knowledge;
3                  c.     the parties agree, or the Court rules, has become public knowledge other
4     than as a result of disclosure by the receiving party, its employees, or its agents in violation
5     of this Order; or
6                  d.     has come or will come into the receiving party’s legitimate knowledge
7     independently of the production by the designating party. Prior knowledge must be
8     established by preproduction documentation.
9           23.    The restrictions and obligations within this order will not be deemed to
10    prohibit discussions of any confidential information with anyone if that person already has
11    or obtains legitimate possession of that information.
12          24.    Transmission by email or some other currently utilized method of
13    transmission is acceptable for all notification purposes within this Order.
14          25.    This Order may be modified by agreement of the parties, subject to approval
15    by the Court.
16          26.    The Court may modify the terms and conditions of the Protective Order for
17    good cause, or in the interest of justice, or on its own order at any time in these proceedings.
18    The parties prefer that the Court provide them with notice of the Court's intent to modify
19    the Order and the content of those modifications, prior to entry of such an order.
20          IT IS SO ORDERED.
21    Dated: April 23, 2018
                                                      _________________________
22
                                                      ROBERT N. BLOCK
23                                                    United States Magistrate Judge
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1                                             EXHIBIT A
2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
3           I,   _____________________________            [print   or    type    full   name],    of
4     _________________ [print or type full address], declare under penalty of perjury that I
5     have read in its entirety and understand the Stipulated Protective Order that was issued by
6     the United States District Court for the Southern District of California on _________ [date]
7     in the case of Marissa Loftis, et al. v. D. Ramos, et al., 3:16-cv-02300-MMA-RNB (S.D.
8     Cal.). I agree to comply with and to be bound by all the terms of this Stipulated Protective
9     Order and I understand and acknowledge that failure to so comply could expose me to
10    sanctions and punishment in the nature of contempt. I solemnly promise that I will not
11    disclose in any manner any information or item that is subject to this Stipulated Protective
12    Order to any person or entity except in strict compliance with the provisions of this Order.
13          I further agree to submit to the jurisdiction of the United States District Court for the
14    Southern District of California for the purpose of enforcing the terms of this Stipulated
15    Protective Order, even if such enforcement proceedings occur after termination of this
16    action.
17          I hereby appoint __________________________ [print or type full name] of
18    _______________________________________ [print or type full address and telephone
19    number] as my California agent for service of process in connection with this action or any
20    proceedings related to enforcement of this Stipulated Protective Order.
21
22    Date: ______________
23    City and State where sworn and signed: _________________________________
24    Printed name: _______________________________
25    Signature: __________________________________
26
27
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